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12   Attorneys for Plaintiffs WhatsApp Inc. and
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13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
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     WHATSAPP INC., a Delaware corporation,
                                       )           Case No. 4:19-cv-07123-PJH
17   and FACEBOOK, INC., a Delaware    )
     corporation,                      )
18                                     )           [PROPOSED] ORDER DENYING
                     Plaintiffs,       )           DEFENDANTS NSO GROUP
19                                     )           TECHNOLOGIES LIMITED AND Q
            v.                         )           CYBER TECHNOLOGIES LIMITED’S
20                                     )           MOTION TO STAY DISCOVERY
     NSO GROUP TECHNOLOGIES LIMITED )              PENDING RESOLUTION OF MOTION
21   and Q CYBER TECHNOLOGIES LIMITED, )           TO DISMISS
                                       )
22                   Defendants.       )           Date: July 22, 2020
                                       )           Time: 9:00 a.m.
23                                     )           Ctrm: 3
                                       )           Judge: Hon. Phyllis J. Hamilton
24                                     )           (Hearing vacated by Dkt. No. 104)
                                       )
25                                     )           Action Filed: Oct. 29, 2019
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 1            Before the Court is Defendants NSO Group Technologies Limited and Q Cyber

 2   Technologies Limited’s Motion to Stay Discovery Pending Resolution of Motion to Dismiss.

 3   Having considered the motion and all supporting papers and opposition papers, IT IS HEREBY

 4   ORDERED that:

 5            Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited’s Motion

 6   to Stay Discovery Pending Resolution of Motion to Dismiss is DENIED.

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 8   Dated:
                                                 THE HONORABLE PHYLLIS J. HAMILTON
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                                                 U.S. DISTRICT JUDGE
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     [PROPOSED] ORDER DENYING DEFENDANTS’ MOTION TO STAY DISCOVERY PENDING RESOLUTION OF MOTION TO
     DISMISS - CASE NO. 4:19-CV-07123-PJH
